     Case 2:24-bk-16757-VZ           Doc 62 Filed 10/10/24 Entered 10/10/24 13:35:38            Desc
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 2                                                                    FILED & ENTERED
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                                                                            OCT 10 2024
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 5                                                                     CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
                                                                       BY carranza DEPUTY CLERK
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                                   UNITED STATES BANKRUPTCY COURT
 9
                   CENTRAL DISTRICT OF CALIFORNIA -- LOS ANGELES DIVISION
10
11                                                  Case No.: 2:24-bk-16757-VZ
     In re:
12                                                  Jointly Administered With:
     MANNING LAND COMPANY, LLC, a                   Case No.: 2:24-16758-VZ Case No.: 2:24-16759-VZ
13   California Limited Liability Company,          Case No.: 2:24-16760-VZ Case No.: 2:24-16761-VZ
                                                    Case No.: 2:24-16762-VZ
14
                   Debtor and Debtor-in-Possession Chapter 11
15
        Affects All Debtors
16
        Affects Case No.: 2:24-16758-VZ             ORDER AFTER INITIAL STATUS
17      MANNING BEEF, LLC,                          CONFERENCE IN CHAPTER 11 CASE:
        a California Limited Liability Company
18
                                                    1) SETTING DEADLINE FOR FILING PROOFS
        Affects Case No.: 2:24-16759-VZ
19      ADD ENTERPRISES, INC.
                                                    OF CLAIM AND REQUIRING COMPLIANCE
        a Delaware Corporation                      WITH LOCAL BANKRUPTCY RULE 3003-1;
20
        Affects Case No.: 2:24-16760-VZ             2) SETTING DEADLINE TO HOLD A HEARING
21      CHARLIE DIMARIA & SON, INC.                 ON OBJECTION TO CLAIMS; AND
        a California Corporation
22
        Affects Case No.: 2:24-16761-VZ             3) SETTING HEARING ON MOTION FOR
23                                                  ORDER APPROVING ADEQUACY OF
        RNCK INC.,
24      a New York Corporation                      DISCLOSURE STATEMENT

25      Affects Case No.: 2:24-16762-VZ             Hearing on Motion to Approve Disclosure Stmt
        SALVATORE ANTHONY DIMARIA,                  DATE: April 24, 2025
26      aka Salvatore A. DiMaria,                   TIME: 11:00 a.m.
        aka Salvatore Dimaria,                      PLACE: Courtroom 1368, 255 E. Temple Street
27      dba DiMaria Cattle                                    Los Angeles, CA 90012
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            On October 10, 2024, a chapter 11 status conference was held in a bankruptcy case voluntarily
 1
 2   filed by MANNING LAND COMPANY, LLC (“Debtor” and “Lead Case”), as well as five related cases

 3   which are all jointly administered with the Lead Case as indicated in the caption of this order.
 4
     Appearances are noted on the record. Based on the status conference, IT IS ORDERED:
 5
            1) December 20, 2024, is the deadline for filing proofs of claim by non-government claimants.
 6
 7   Debtor must comply with Local Bankruptcy Rule 3003-1 and F 3003-1.NOTICE.BAR.DATE is the

 8   mandatory LBR form that must be used. The Notice of Bar Date must plainly specify that proofs of
 9   claim are to be filed on claims registers of the case of the debtor against which the claim is made.
10
     The only proofs of claim to be filed in the lead case are claims against the debtor of the lead case;
11
            2) February 14, 2025, is the deadline for a hearing to be held on objections to claims. Please
12
13   consult this court’s calendar of available hearing dates that meet this deadline; and

14          3) April 24, 2025, at 11:00 a.m. is set for a hearing on motions for approval of adequacy of
15   disclosures statement, with related documents to be filed using forms required and set forth in the
16
     order setting initial status conference (docket #8 in the lead case, and other docket numbers in the
17
     5 related cases) . The debtor is permitted to select an earlier hearing date for disclosure statement under
18
19   the following conditions:

20          (a) The earlier hearing is on a Thursday at 11:00 a.m. that is available for the court; and
21
            (b) The debtor is able to meet filing and service deadlines for an earlier hearing date.
22
                                                   ###
23
24
25        Date: October 10, 2024

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